Case 16-40120              Doc 1412   Filed 11/04/16 Entered 11/04/16 11:54:19   Main Document
                                                 Pg 1 of 8


                                                                                              Nov 04, 2016
                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION

    In re:                                              Chapter 11

    ARCH COAL, INC., et al                              Case No. 16-40120-705

                Debtors.                                (Jointly Administered)


    CDS FAMILY TRUST, LLC                               Objection Deadline: June 30, 2016

                               Movant,
                                                        Hearing Date and Time: July 6, 2016
                               v.                       1:00 p.m.

   VINDEX ENERGY CORPORATION,
                                                        Hearing Location: Thomas F. Eagleton U.S.
                               Respondent.              Courthouse, 111 South Tenth St., Floor 7,
                                                        South Courtroom, St. Louis, MO 63102




      NOTICE OF THE CDS FAMILY TRUST, LLC’S MOTION FOR ENTRY OF AN
      ORDER PURSUANT TO 11 U.S.C. § 362(d) AUTHORIZING RELIEF FROM THE
      AUTOMATIC STAY TO CONTINUE PENDING ARBITRATION AGAINST THE
                  DEBTOR, VINDEX ENERGY CORPORATION


        PLEASE TAKE NOTICE that this motion is scheduled for hearing on July 6, 2016, at
 1:00 p.m. (prevailing Central Time), in Bankruptcy Courtroom 7 South, in the Thomas F.
 Eagleton U.S. Courthouse, 111 South Tenth Street, St. Louis, Missouri 63102.

     WARNING: ANY RESPONSE OR OBJECTION MUST BE FILED WITH THIS
 COURT BY JUNE 30, 2016. A COPY MUST BE PROMPTLY SERVED UPON THE
 UNDERSIGNED. FAILURE TO FILE A TIMELY RESPONSE MAY RESULT IN THE
 COURT GRANTING THE RELIEF REQUESTED PRIOR TO THE HEARING DATE.




 {B2602124.2}                                       1
Case 16-40120           Doc 1412      Filed 11/04/16 Entered 11/04/16 11:54:19           Main Document
                                                 Pg 2 of 8


          MOTION OF THE CDS FAMILY TRUST, LLC FOR ENTRY OF AN
      ORDER PURSUANT TO 11 U.S.C. § 362(d) AUTHORIZING RELIEF FROM THE
      AUTOMATIC STAY TO CONTINUE PENDING ARBITRATION AGAINST THE
                  DEBTOR, VINDEX ENERGY CORPORATION

                AND NOW comes CDS Family Trust, LLC (“CDS”), by and through its undersigned

 counsel, Babst, Calland, Clements and Zomnir, P.C., and Affinity Law Group, LLC and files the

 following Motion for Entry of an Order Pursuant to 11 U.S.C. § 362(d) Authorizing Relief from

 the Automatic Stay to Continue Pending Arbitration Against the Debtor, Vindex Energy

 Corporation (this “Motion”), averring as follows:

                                           RELIEF REQUESTED

                1.    By this Motion, and pursuant to Section 362(d) of title 11 of the United States

 Code (the “Bankruptcy Code”), Rule 4001 of the Federal Rules of Bankruptcy Procedure and

 Rule 4001-1 of the Local Rules for the Eastern District of Missouri, CDS seeks entry of an order

 (the “Proposed Order”) granting relief from the automatic stay to continue a pending arbitration

 against the Debtor, Vindex Energy Corporation (the “Vindex Debtor”). Granting this Motion

 will aid in the liquidation of CDS’ claim against the Vindex Debtor in these Chapter 11 cases.

 As set forth below in more detail, the relief sought herein will not prejudice the Vindex Debtor’s

 or any creditor’s otherwise applicable rights and claims.

                                       JURISDICTION AND VENUE

                2.    This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. § 1334.

                3.    This matter is a “core” proceeding within the meaning of 28 U.S.C. § 157.

                4.    The statutory basis for the relief requested herein is 11 U.S.C. § 362(d) of the

 Bankruptcy Code.




 {B2547616.1}                                          2
Case 16-40120           Doc 1412     Filed 11/04/16 Entered 11/04/16 11:54:19          Main Document
                                                Pg 3 of 8


                                              THE PARTIES

                5.    On January 11, 2016 (the “Petition Date”), the Vindex Debtor and its affiliates

 (collectively, the “Debtors”) filed voluntary petitions for relief under Chapter 11 of the

 Bankruptcy Code.

                6.    The Debtors have continued in possession of their property and have continued to

 operate and manage their businesses as debtors-in-possession pursuant to Sections 1107(a) and

 1108 of the Bankruptcy Code.

                7.    The Debtors’ cases are being jointly administered pursuant to Bankruptcy Rule

 1015(b) and the Order Directing Joint Administration of the Chapter 11 cases entered by this

 Court on January 13, 2016 in each of the Debtors’ cases.

                8.    Movant, CDS is a Delaware limited liability company with a registered address of

 c/o Corporation Service Company, 2711 Centerville Road, Suite 400, Wilmington, Delaware

 19808.

                                           FACTUAL BACKGROUND

                9.    CDS was created in order to administer the family trust that was created by the

 will of Carl DelSignore (“Mr. DelSignore”), as a way of providing benefits to Mr. DelSignore’s

 family members upon his death.

                10.   Mr. DelSignore was one of three brothers who formed the Buffalo Coal Company

 (“Buffalo”), and in March of 2001, CDS leased certain properties containing coal reserves (the

 “Leased Premises”) to Buffalo for the purpose of mining, processing and transporting coal.

                11.   After significant financial troubles, on May 5, 2006, Buffalo filed a voluntary

 petition for relief under Chapter 11 of the Bankruptcy Code in the United States Bankruptcy

 Court for the Northern District of West Virginia (the “West Virginia Bankruptcy Court”).



 {B2547616.1}                                         3
Case 16-40120           Doc 1412     Filed 11/04/16 Entered 11/04/16 11:54:19         Main Document
                                                Pg 4 of 8


                12.   In 2006, with approval of the West Virginia Bankruptcy Court, the Vindex Debtor

 purchased certain assets from Buffalo’s bankruptcy estate, which purchased assets included the

 CDS lease.

                13.   On January 30, 2007, the Vindex Debtor and CDS entered into that certain Master

 Lease Agreement (“MLA”), superseding the earlier lease to Buffalo, and under which CDS

 agreed to lease the Leased Premises to the Vindex Debtor for the purpose of mining, processing

 and transporting the coal in the Leased Premises and to maximize royalty revenues.

                14.   On February 6, 2015, due to various disputes between CDS and the Vindex

 Debtor under the MLA, pursuant to the arbitration provisions of the MLA, CDS served the

 Vindex Debtor with a demand for private arbitration before a panel of three arbitrators (the

 “Arbitration Panel”), which arbitration is captioned as In re: Arbitration of “Master Lease

 Agreement,” dated January 30, 2007 between CDS Family Trust, LLC, Claimant and Vindex

 Energy Corporation, Respondent and Counter-Claimant (the “Arbitration”).              CDS’ claims

 against the Vindex Debtor in the Arbitration consist primarily of (i) breach of contract claims

 relating to the Vindex Debtor’s failure to mine the Leased Premises as required by the terms of

 the MLA; (ii) a determination that the MLA has been accordingly terminated; and (iii) that CDS

 is entitled to monetary damages for such breach and termination.

                15.   On February 20, 2015, the Vindex Debtor denied that CDS is entitled to such

 relief and set forth a counter demand for arbitration claiming that it is CDS who is in violation of

 the terms of the MLA.

                16.   On September 23, 2015, an arbitration hearing was held before the Arbitration

 Panel and testimony and exhibits were presented by CDS and the Vindex Debtor with respect to

 their positions. Post-hearings briefs were then submitted by the parties on November 10, 2015.



 {B2547616.1}                                        4
Case 16-40120           Doc 1412     Filed 11/04/16 Entered 11/04/16 11:54:19          Main Document
                                                Pg 5 of 8


                17.   CDS believes that certain actions taken by the Vindex Debtor since that time,

 including schedules and motions filed in this bankruptcy proceeding, are relevant to the issues

 before the Arbitration Panel, and seeks to re-open the record in the Arbitration to introduce such

 evidence prior to the issuance of an award by the Arbitration Panel. CDS anticipates that the

 Vindex Debtor will consent to modification of the automatic stay to allow the arbitrators to issue

 their decision, but will oppose re-opening of the record in the arbitration. CDS respectfully

 suggests that the arbitrators are in best position to decide whether, and to what extent, the record

 in the arbitration should be re-opened. Accordingly, CDS seeks relief from stay to allow the

 Arbitration Panel to decide whether and to what extent to re-open the record, and then to issue a

 decision.

                                        STANDARD FOR RELIEF

                18.   CDS respectfully requests that this Court enter the Proposed Order pursuant to

 Section 362(d)(1) of the Bankruptcy Code lifting the automatic stay provisions of 11 U.S.C.

 § 362 for the purpose of allowing the Arbitration Panel to continue, which will allow the

 Arbitration Panel, as and when it deems appropriate, to render a decision in the Arbitration in

 order to determine whether the MLA should be declared terminated, and the extent and amount

 of any liability of the Vindex Debtor to CDS. CDS will not seek to satisfy any judgment

 obtained in the Arbitration from the assets of the bankruptcy estate during the pendency of this

 bankruptcy case without further order of this Honorable Court.

                19.   The purpose of the automatic stay is to “provide a debtor with a breathing spell

 and prevent harassment and frustration of rehabilitation efforts through pursuit by creditors...”

 Matter of Kozak Farms, Inc. 47 B.R. 399, 402 (Bankr.W.D.Mo. 1985).




 {B2547616.1}                                         5
Case 16-40120           Doc 1412     Filed 11/04/16 Entered 11/04/16 11:54:19           Main Document
                                                Pg 6 of 8


                20.   However, “the mere filing of a petition in bankruptcy cannot, in and of itself,

 erase a plaintiff’s claim, its opportunity to litigate, or the fact that the debtor may be liable to the

 plaintiff in some amount.” In re Wiley, 288 B.R. 818, 822 (8th Cir. BAP 2003).

                21.   Bankruptcy Code Section 362(d)(1) provides that the bankruptcy court may grant

 relief from the automatic stay for cause. In re Blan, 237 B.R. 737, 739 (8th Cir. BAP 1999).

 Although Congress did not define cause in the Bankruptcy Code, “it intended that the automatic

 stay could be lifted to allow litigation involving the debtor to continue in a non-bankruptcy

 forum under certain circumstances.” Wiley, 288 B.R. at 822 (citing Blan, 237 B.R. at 739).

                22.   Both the Blan and Wiley courts noted that “it would often be more appropriate to

 permit proceedings to continue in their place of origin, when no great prejudice to the bankruptcy

 estate would result, in order to leave the parties to their chosen forum and to relieve the

 bankruptcy court from duties that may be handled elsewhere.” Id.

                23.   In making a determination of whether to grant relief from stay, the court must

 balance the potential prejudice to the debtor, to the bankruptcy estate, and to the other creditors

 against the hardship of the moving party if it is not allowed to proceed in state court. Id. The 8th

 Circuit evaluates the following factors in balancing such hardships: (1) judicial economy;

 (2) trial readiness; (3) the resolution of preliminary bankruptcy issues; (4) the creditor’s chance

 of success on the merits; and (5) the cost of defense or other potential burden to the bankruptcy

 estate and the impact of the litigation on other creditors.” Id.

                24.   A balancing of the above-referenced factors weighs substantially in favor of

 granting CDS relief from the automatic stay to continue the Arbitration. The most relevant and

 compelling factors at issue are that (1) the interests of judicial economy will be served as the

 litigation in the Arbitration has been before the Arbitration Panel since February of 2015 and the



 {B2547616.1}                                         6
Case 16-40120           Doc 1412     Filed 11/04/16 Entered 11/04/16 11:54:19          Main Document
                                                Pg 7 of 8




                25.   Furthermore, CDS’ request for relief is conditioned upon CDS agreeing not to

 seek recovery on any monetary judgment that may be entered as a part of the Arbitration Award

 against the Debtors’ bankruptcy estates absent further Order of this Honorable Court.

                26.   Based on the foregoing circumstances, facts and legal authority, CDS asserts that

 cause for granting relief from the automatic stay in this matter exists under Section 362(d)(1) of

 the Bankruptcy Code.

                27.   A copy of the proposed Order granting the relief requested herein may be found at

 https://cases.primeclerk.com/archcoal.



                                [Remainder of Page Intentionally Left Blank]




 {B2547616.1}                                         7
Case 16-40120           Doc 1412    Filed 11/04/16 Entered 11/04/16 11:54:19         Main Document
                                               Pg 8 of 8


                WHEREFORE, Movant, CDS Family Trust, LLC, respectfully requests that this Court

 enter an Order granting CDS’ Motion for Entry of an Order Pursuant to 11 U.S.C. § 362(d)

 Authorizing Relief from the Automatic Stay to Continue Pending Arbitration Against the Debtor,

 Vindex Energy Corporation, together with any other relief this Honorable Court deems just and

 proper.

                                                Respectfully submitted,

 Date: June 3, 2016                             AFFINITY LAW GROUP, LLC


                                                /S/     J. Talbot Sant, Jr.
                                                J. Talbot Sant, Jr. Mo Bar # 35324
                                                Tsant @affinitylawgrp.com
                                                1610 Des Peres Road, Suite 100
                                                St. Louis, MO 63131
                                                Telephone: 314-872-3333

                                                AND

                                                BABST, CALLAND, CLEMENTS AND
                                                ZOMNIR, P.C.

                                                Mark A. Lindsay, Esquire
                                                PA Attorney ID: 89487
                                                mlindsay@babstcalland.com
                                                Erica K. Dausch, Esquire
                                                PA Attorney ID: 306829
                                                edausch@babstcalland.com
                                                Two Gateway Center, 7th Floor
                                                Pittsburgh, PA 15222
                                                Telephone: 412-773-8706

                                                Counsel to CDS Family Trust, LLC




 {B2547616.1}                                      8
